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     Mahlelaw@sbcglobal.net
 4
     Attorney for Defendant
 5   BRANDON DEAN
 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             Case No.: 2:06-cr-00494-MCE
12                  Plaintiff,
13          vs.                                            STIPULATION AND ORDER
14   MARQUIS AIKENS, et al.
15                  Defendants.
16

17                                           STIPULATION
18          This matter was scheduled for Status Conference on June 7, 2007, at 9:00 a.m., in the
19   courtroom of the Honorable Morrison C. England, Jr. I have contacted counsel for the United
20   States, AUSA John Vincent, and he has agreed to continue this matter until July 19, 2007, at
21   9:00 a.m. All counsel continue to review discovery provided and prepare for possible motions.
22          All parties hereby agree and stipulate to a continuance of the Status Conference that
23   was scheduled for June 7, 2007, at 9:00 a.m., to July 19, 2007, at 9:00 a.m. in the courtroom of
24   the Morrison C. England, Jr. They further stipulate to the exclusion of time through that date
25   pursuant to Local Code T-4, as the continuance is necessary for preparation of counsel.
26

27   DATED:       6-06-07        _____             /s/ C. Emmett Mahle
                                                  C. EMMETT MAHLE
28                                                Attorney for Defendant
                                                  BRANDON DEAN



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 1   DATED:      6-06-07    _____                 /s/ Michael Bigelow
                                                 MICHAEL BIGELOW
 2                                               Attorney for Defendant
                                                 MARQUIS AIKENS
 3

 4   DATED:      6-06-07    _____                 /s/ Timothy Warriner
                                                 TIMOTHY WARRINER
 5                                               Attorney for Defendant
                                                 MARQUIS JACKSON
 6

 7   DATED:      6-06-07    _____                 /s/ Ned Smock
                                                 NED SMOCK
 8                                               Attorney for Defendant
                                                 ALEX S. BAKER
 9

10   DATED:      4-11-07    _____                 /s/ John Vincent
                                                 JOHN VINCENT
11                                               Assistant U.S. Attorney
12

13

14
                                                 ORDER
15

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            GOOD CAUSE APPEARING, and by stipulation of counsel, the Status Conference that
17
     was scheduled for June 7, 2007, at 9:00 a.m., is hereby continued to July 19, 2007, at 9:00
18
     a.m., in the courtroom of the Honorable Morrison England, Jr. Time is excluded through that
19
     date pursuant to Local Code T-4 for preparation of counsel.
20

21
     DATED: June 6, 2007
22

23
                                             __________________________________
                                             MORRISON C. ENGLAND, JR
24                                           UNITED STATES DISTRICT JUDGE
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